    Case: 3:18-cv-00193-TMR Doc #: 7 Filed: 07/18/18 Page: 1 of 1 PAGEID #: 68



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

TINA BRICKLES,                         :        Case No. 3:18-cv-193
                                       :
            Plaintiff,                 :        Judge Thomas M. Rose
                                       :
v.                                     :
                                       :
JUSTIN SANDERSON, et al.,              :
                                       :
            Defendants.                :
______________________________________________________________________________

    ENTRY AND ORDER SETTING BRIEFING SCHEDULE ON DEFENDANT
      JUSTIN SANDERSON’S MOTION TO STAY PROCEEDINGS (DOC. 6)
______________________________________________________________________________
       Defendant Justin Sanderson moves the Court for a stay of proceedings pending

the resolution of a criminal proceeding against him based on many of the same

allegations in this case.   The criminal proceeding, captioned State of Ohio v. Justin

Sanderson, Case No. 2017 CR 02588, is pending in the Montgomery County Common

Pleas Court. In order to timely consider Sanderson’s motion, the Court hereby orders the
parties to file their responses, if any, to the Motion to Stay Proceedings (Doc. 6) by no

later than July 24, 2018. Sanderson may file a reply to the parties’ response no later than

July 27, 2018.

       DONE and ORDERED in Dayton, Ohio, this Wednesday, July 18, 2018.
                                                       s/Thomas M. Rose
                                                    ________________________________
                                                       THOMAS M. ROSE
                                                  UNITED STATES DISTRICT JUDGE
